                                                              Re: Protest Site
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         Subject: Re: Protest Site
         From: "Casey Parsons (Mx.)" <casey@wrest.coop>
         Date: 5/9/2024, 7:49 PM
         To: James Craig <James.Craig@ag.idaho.gov>, Josh Turner <josh.turner@ag.idaho.gov>, Brian Church
         <brian.church@ag.idaho.gov>
         CC: "ritchie@wrest.coop" <ritchie@wrest.coop>, "david@wrest.coop" <david@wrest.coop>

         Jim, I understand that ISP has backed off. Awaiting on an answer with respect to where protestors can utilize their
         symbolic and assembly tents overnight if it's neither the Annex nor the Capitol steps. I would propose the memorial
         in front of the Annex, which would lawn maintenance to occur without blocking any entry or exit from the Annex
         building. Please advise.


         On May 9, 2024 6:14:29 PM MDT, Casey Parsons <casey@wrest.coop> wrote:

           Where can they continue their demonstration using their symbolic and assembly tents during lawn maintenance?
           As my client indicated in the earlier deposition, the use of the tents is germane to their First Amendment
           purposes and crucial to their action.

           On 5/9/2024 6:12 PM, James Craig wrote:
            Casey,

            Thanks for asking to confirm. Let me clarify my previous email. The tents, canopies, etc. have to be off
            the lawn by 6:30. The protestors can continue their protest on the lawn, or on the Capitol steps, etc., but
            the tents, canopies and other items have to be off the lawn and can not be blocking ingress or egress, in
            accordance with the IDAPA regulations.

            Thanks,

            Jim

                          James E. M. Craig | Division Chief
                          Civil Litigation and Constitutional Defense
                          Office of the Attorney General | State of Idaho
                          O: 208-854-8088 | W: ag.idaho.gov



            From: Casey Parsons <casey@wrest.coop>
            Sent: Thursday, May 9, 2024 6:06 PM
            To: James Craig <James.Craig@ag.idaho.gov>; Josh Turner <josh.turner@ag.idaho.gov>; Brian Church
            <brian.church@ag.idaho.gov>
            Cc: ritchie@wrest.coop; david@wrest.coop
            Subject: Re: Protest Site


            Thank you for confirming, Jim. To reiterate my question from yesterday -- where can demonstrators continue
            their protest on the Capitol Mall grounds while daily lawn maintenance is occurring?

            On 5/9/2024 5:56 PM, James Craig wrote:
                     Casey,

                     As we have said in multiple emails, the protestors have to be off the lawn no later
                     than 6:30 pm daily. Any tents, canopies, or other items remaining on the lawn at 6:30



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         is subject to seizure.

         Thanks,

         Jim

         Get Outlook for iOS

         From: Casey Parsons (Mx.) <casey@wrest.coop>
         Sent: Thursday, May 9, 2024 5:41:56 PM
         To: Josh Turner <josh.turner@ag.idaho.gov>; Brian Church <brian.church@ag.idaho.gov>; James
         Craig <James.Craig@ag.idaho.gov>
         Cc: ritchie@wrest.coop <ritchie@wrest.coop>; david@wrest.coop <david@wrest.coop>
         Subject: Protest Site

         Jim, I understand that there are a number of ISP and BPD officers amassing at the
         Capitol Annex. Please advise on what enforcement action they are intending to take,
         if any.
         NOTICE: This message, including any attachments, is intended only for the individual(s) or entity(ies) named
         above and may contain information that is confidential, privileged, attorney work product, or otherwise exempt
         from disclosure under applicable law. If you are not the intended recipient, please reply to the sender that you
         have received this transmission in error, and then please delete this email.




2 of 2                                                                                                                      5/14/2024, 11:16 AM
